               U.S. Bankruptcy Court - District of Kansas
                         Court Room Minute Sheet
                                2/28/2018
                    Hon. Robert D. Berger, Presiding
 
 
9:30 AM
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Case Information:
        16-21142 John Q. Hammons Fall 2006, LLC   Chapter: 11

Judge: RDB Filed: 06/26/2016 Pln Confirmed:
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Appearances:
      XX Mark A. Shaiken and XX Nick Zluticky and XX Bruce Strauss
representing John Q. Hammons Fall 2006, LLC (Debtor)
      XX Greggory Groves representing John Q. Hammons Fall 2006, LLC
(Debtor)
      XX Jonathan Margolies and XX Mark Shinderman and XX Jedd Schwartz
(telephonic) and XX Scott Edelman (telephonic) representing JD Holdings
      XX Peter Siddiqui and XX Tim Patenode (telephonic) representing SFI
Belmont
      XX Elisha Blechner (telephonic) as representatives of SFI Belmont
      XX Fred Carter and XX Greg Cross and XX Steve Sutton and XX Darek
Bushnaq (telephonic) representing CMBS Lenders
      XX Christine Schlomann and XX David Going representing Missouri
State University and Missouri State University Foundation
      XX Sharon Stolte and XX Stuart Maples (telephonic) representing
City of Huntsville
      XX John Cruciani representing Morton Community Bank
      XX Richard Beheler representing Bank of Blue Valley
      XX Daniel Dooley representing City of Springfield
        representing USB Securities LLC
      XX Zach Fairlie representing UMB Bank, Commerce Bank, Security
Bank, and City of La Vista NE
      XX Colin Gotham and XX Cathy Reece (telephonic) representing City
of Glendale, Arizona
      XX William Maloney representing Great Southern Bank
      XX Eric Monzo (telephonic) representing Independent Directors
      XX David Descoteaux (telephonic) and XX Christopher Lawhorn
(telephonic) and XX Robert Kravitz (telephonic) and XX Diane Meyers
(telephonic) representing UBS Securities LLC
      XX Jim Bird (telephonic) representing City of Springfield MO and
AJJ Hotel Holdings Inc.
      XX Matthew Faul (telephonic) representing First National Bank of
Omaha
      XX Meghan Byrnes (telephonic) representing Cheri Marchionea
      XX Mike Driscoll (telephonic) representing Marriott
      XX Ron Brown (telephonic) representing Atrium LLC
      XX Bonnie Hackler (telephonic) representing US Trustee
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Courtroom Deputy: Judy   Cowger
ECRO Reporter: R. Patrick Tate, Heritage Reporting Services
 
 
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Issue(s):
      [1791] Motion for Intended Compromise (DEBTORS' MOTION FOR
AUTHORITY TO ENTER INTO PLAN SUPPORT AGREEMENT WITH JD HOLDINGS, L.L.C.
AND COMPROMISE OF CLAIMS) Filed on behalf of Debtor John Q. Hammons Fall
2006, LLC.
      [1815] Objection filed by City of Huntsville
      [1816] Objection filed by Bank of Blue Valley
      [1817] Objection filed by City of Springfield
      [1818] Objection filed by CMBS Lenders
            [1838] Response filed by JD Holdings
      [1819] Objection filed by USB Securities LLC
            [1842] Response filed by JD Holdings
      [1820] Objection filed by Missouri State University and Missouri
State University Foundation
      [1824] Objection filed by City of Glendale AZ
      [1831] Response filed by Independent Directors
      [1841] Omnibus response filed by JD Holdings

Notes/Decision:
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Oral argument heard from all objecting parties. The motion is between
the two parties and other parties are not bound by the agreement. The
settlement is fair and equitable and in the best interests of the estate.
The motion is approved. Order by Mr. Shaiken.




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Courtroom Deputy: Judy   Cowger
ECRO Reporter: R. Patrick Tate, Heritage Reporting Services
 
 
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                    Hammons – List of Parties Appearing by Telephone at the February 28, 2018 Hearing

Party:                            Attorney:   Firm or Title:        Address:               Phone:         Email:
United States Trustee's Office    Bonnie      Trial Attorney for    224 S. Boulder         918.232.0738   Bonnie.hackler@usd
                                  Hackler     US Trustee's Office   Avenue, Suite 225                     oj.gov
                                                                    Tulsa, OK 74103
JD Holdings, LLC                  Jed         Milbank, Tweed,       28 Liberty St          212.530.5283   jschwartz@milbank.
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                                              LLP                   10005-1413
JD Holdings, LLC                  Scott       Milbank, Tweed,       28 Liberty St          212.530.5149   sedelman@milbank.
                                  Edelman     Hadley & McCloy       New York, NY                          com
                                              LLP                   10005-1413
Atrium, LLC                       Ron Brown   Chief Executive       1114 Avenue of the     212.730.7211   rbrown@atriumllc.c
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SFI Belmont, LLC                  Timothy     Katten Muchin         525 W. Monroe          312.902.5539   timothy.patenode@k
                                  Patenode    Rosenbaum LLP         Street                                attenlaw.com
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SFI Belmont, LLC                  Elisha      Executive Vice        1114 Avenue of the     212.930.9400   eblechner@istar.co
                                  Blechner    President             Americas                              m
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City of Glendale, Arizona         Cathy L.    Fennemore Craig,      2394 East              602.916.5343   creece@fclaw.com
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Servicers for CMBS Lenders        Darek       Venable LLP           750 E. Pratt Street,   410.244.7867   dsbushnaq@venable
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                                                                    21202



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UBS Securities, LLC              Christopher   Carmody            120 S. Central           314.854.8621   cjl@carmodymacdo
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UBS Securities, LLC              Robert        Paul, Weiss,       1285 Avenue of the       212.373.3392   rkravitz@paulweiss.
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City of Springfield, Missouri    James Bird    Polsinelli PC      900 W. 48th Place        816.360.4343   jbird@polsinelli.co
and AJJ Hotel Holdings, Inc.                                      Kansas City, MO                         m
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First National Bank of Omaha     Matthew       Swanson Midgley, 4600 Madison               816.886.4820   mfaul@swansonmid
                                 Faul          LLC                Ave., Suite 100                         gley.com
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Independent Directors            Eric Monzo    Morris James LLP   500 Delaware Ave,        302.888.5848   emonzo@morrisjam
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Cheri Marchionea                 Meghan        Reed Smith LLP     1717 Arch St Suite       215.851.8100   mbyrnes@reedsmith
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